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     Attorney at Law
 2
     2950 Mariposa, Suite 250
 3   Fresno, California 93721
     Telephone: (559) 441-7111
 4
     Attorney for Defendant
 5
     HUGO LEYVA
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA         |
 9                                    |
                  Plaintiff,          |       Case No. 12 CR 328 LJO
10   vs.                              |
                                      |       COURT RESPONSE TO SUBSTITUTION OF
11   HUGO LEYVA                       |       ATTORNEY REQUEST
                                      |
12         Defendant.                 |
                                      |
13

14         Defendant HUGO LEYVA hereby substitutes James R. Homola, 2950 Mariposa

15   Street, Fresno, California 93721, telephone (559) 441-7111, as attorney of

16   record in this action, in place of William Stewart, his present counsel.

17   DATED: May 20, 2014                      /s/ Hugo Leyva
                                              HUGO LEYVA
18
     The undersigned consents to the above substitution.
19
     DATED: May 20, 2014
20                                       /s/ William Stewart
                                         WILLIAM STEWART
21   The undersigned accepts the above substitution.

22   DATED: May 20, 2014
                                              /s/ James R. Homola
23                                            JAMES R. HOMOLA

24                                        *    *   *   *   *

25   THE COURT NOTES THAT THIS CASE IS A MULTIPLE DEFENDANT CASE WITH AN UPCOMING

26   TRIAL SET OF July 29, 2014.     THE COURT ALSO NOTES THAT THE REQUESTED

27   SUBSTITUTION OF ATTORNEY SAYS NOTHING ABOUT THE NEWLY PROPOSED COUNSEL’S

28   ABILITY TO BE PREPARED FOR THE UPCOMING TRIAL DATE.       UNLEES AND UNTIL SUCH A
          Case 1:12-cr-00328-JLT-SKO Document 116 Filed 05/27/14 Page 2 of 2


 1
     REPRESENTATION IS MADE BY COUNSEL WISHING TO COME IN, THE REQUEST IS DENIED.
 2
     THE COURT IS NOT GOING TO ALLOW THE TRIAL DATE TO BE MOVED IN THAT THE
 3
     INDICTMENT WAS FILED ALMOST TWO YEARS AGO, AND WITH THIS MANY ATTORNEYS
 4
     BEING INVOLVED, ALONG WITH THEIR BUSY CALENDARS, SUCH A CONTINUANCE BASED
 5
     ON NEW COUNSEL’S BEING BROUGHT IN AT THIS LATE STAGE WOULD MEAN AN
 6
     UNREASONABLE DELAY.
 7

 8   IT IS SO ORDERED.
 9
        Dated:   May 27, 2014                   /s/ Lawrence J. O’Neill
10                                          UNITED STATES DISTRICT JUDGE
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